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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

PAUL HOFFMEISTER,                                     )
                                                      )
       Plaintiff,                                     )
                                                      )
       v.                                             )     Case No. 17-cv-08387
                                                      )
QUAKER FUNDS, INC.,                                   )
JEFFRY H. KING, SR., LAURIE KEYES,                    )     Judge Sara L. Ellis
and JUSTIN BRUNDAGE,                                  )
                                                      )
       Defendants.                                    )

              ORDER APPROVING SETTLEMENT AND CASE DISMISSAL

       After a review of the Settlement Agreement submitted jointly by the parties for approval,

the Court determines that the terms of the settlement of this litigation are fair and reasonable,

including the amount paid to Plaintiff. Accordingly, the Court hereby approves the settlement

and dismisses the case in its entirety without prejudice.

       The Parties are provided 30 days to file a motion to reinstate or a motion to enforce the

settlement agreement. In the event no further motion is filed within 30 days, the case will be

automatically deemed as dismissed with prejudice without further order of the Court.



       SO ORDERED this 12th day of February, 2018



                                              Sara L. Ellis
                                              UNITED STATES DISTRICT JUDGE
